4:03-cr-03085-RGK-DLP       Doc # 178     Filed: 09/08/05    Page 1 of 1 - Page ID # 639


                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )          4:03CR3085
             Plaintiff,                     )
                                            )
      vs.                                   )          MEMORANDUM
                                            )          AND ORDER
SHERRIE BUSSELMAN,                          )
                                            )
             Defendant.                     )

       The Court has been advised that the defendant requests permission to enter a plea
of guilty.

      IT IS ORDERED that:

      1.     This case, insofar as it concerns this defendant, is removed from the trial
docket based upon the request of the defendant.

      2.     A hearing on the defendant’s anticipated plea of guilty is scheduled before
the undersigned United States district judge on the 22nd day of September, 2005, at the
hour of 4:30 p.m., in Courtroom No. 1, United States Courthouse and Federal Building,
100 Centennial Mall, North, Lincoln, Nebraska.

       3.     On or before the date set for the plea proceeding, counsel for plaintiff and
for defendant shall provide to the assigned probation officer their respective versions of
the offense for purposes of preparing the presentence investigation report.

       4.    For this defendant, the time between today’s date and the hearing on the
anticipated plea of guilty is excluded for purposes of computing the limits under the
Speedy Trial Act. See 18 U.S.C. sec. 3161(h)(1)(I)&(h)(8)(A)(B).

      September 8, 2005.                        BY THE COURT:

                                                s/ Richard G. Kopf
                                                United States District Judge
